         Case 13-32920 Document 208 Filed in TXSB on 10/29/14 Page 1 of 9



               IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION
    IN RE:                        §
                                  §
    MIDTOWN SCOUTS SQUARE         §      CASE NO. 13-32920
    PROPERTY, LP                  §      (Chapter 11)
                                  §
    MIDTOWN SCOUTS SQUARE, LLC §
                                  §
           DEBTORS.               §

    ORDER CONFIRMING JOINT PLAN OF REORGANIZATION, AS MODIFIED,
            OF MIDTOWN SCOUTS SQUARE PROPERTY, LP, AND
                   MIDTOWN SCOUTS SQUARE, LLC

        On May 13, 2014, Debtors Midtown Scouts Square Property, LP and Midtown Scouts

Square, LLC (collectively, the “Debtors"), as debtors-in-possession, filed their Joint Chapter 11

Plan of Reorganization (Doc. #147) (the “Plan”), as modified by the Modification filed on

October 23, 2014 (the “Modification”) (Doc. #202). The Court set a confirmation hearing on

October 28, 2014 at 9:30 a.m. (the “Confirmation Hearing”). The Debtors and their counsel

appeared at the confirmation hearing at which the Court heard testimony and arguments of

counsel and considered the evidence. After considering the foregoing, the ballots, any objections

filed, the evidence and testimony, and the arguments of counsel, THE COURT HEREBY

FINDS AND DETERMINES AS FOLLOWS:

                                               I. Background

        1.       The above captioned jointly administered Chapter 11 bankruptcy cases were filed

on May 9, 2013 (“Petition Date”) under Chapter 11 of Title 11 of the Bankruptcy Code, 11

U.S.C. §§101 et sq. (the "Bankruptcy Code").

        2.       The hearing on the confirmation of the Plan and Modification, and the

transactions and matters set forth therein is a core proceeding pursuant to 28 U.S.C. §§




- 10/29/2014 Proposed Plan Confirmation Order (00902614xBF97D).DOCX 1
          Case 13-32920 Document 208 Filed in TXSB on 10/29/14 Page 2 of 9



157(b)(2)(A), (B), (F), (H), (I), (J), (L), (M) and (O). The statutory predicates for confirmation

of the Plan and Modification and approval of the transactions and matters set forth therein, are 11

U.S.C. §§ 1121-1142.

          3.     This Court has constitutional authority to enter a final order with respect to the

confirmation of the Plan because the confirmation of the Plan is a “public right” as discussed in

the United States Supreme Court’s Stern v. Marshall decision. See 131 S. Ct. 2594, 2617-28

(2011).

          4.     The Plan, as modified, contemplates a reorganization of the Debtors through a

restructuring of their primary secured debt and stabilization of operations. The Debtor’s cash

from operations, along with funds advanced from Debtors’ principal, Dr. Lucky Chopra, will be

utilized to fund the payments proscribed in the Plan.

          5.     On May 16, 2014, the Debtor served (i) the Plan, (ii) the Debtor’s Disclosure

Statement [Doc. 148], (iii) the Supplement to the Disclosure Statement [Doc. 160] (iv) the Order

Approving the Disclosure Statement, Authorizing Debtor to Solicit Votes and Setting

Confirmation [Doc # 166]; (v) Ballots with which to vote on the Plan and (vi) Memo to all

creditors and parties in interest, including plan solicitation, notice of hearing and related

deadlines.

          6.     On October 23, 2014, the Debtors filed the Modifications to the Plan. The

Modification only impacts that treatment of the Class 4 Allowed Secured Claim of Mercantile

Capital Corporation which has agreed thereto. Thus, the Modification does not materially and

adversely affect any other creditor or party in interest that has not agreed to the Modification.




- 10/29/2014 Proposed Plan Confirmation Order (00902614xBF97D).DOCX 1                     Page |2
         Case 13-32920 Document 208 Filed in TXSB on 10/29/14 Page 3 of 9



        7.       The Court finds that notice of the Plan, the Modification and the matters described

in paragraphs five (5) and six (6) to the creditors and parties in interest of the Debtors was

adequate and appropriate.

        8.       The Plan and Modification are hereinafter collectively referred to as the “Plan”.

        9.       All objections to confirmation of the Plan have been overruled, resolved or

withdrawn.

        10.      The Court finds that the Debtors have satisfied the applicable provisions of 11

U.S.C. §1129(a). The Plan complies with the applicable provisions of Sections 1122 and 1123

of the Bankruptcy Code.

        11.      The Court finds that the Debtors have complied with all applicable provisions of

the Bankruptcy Code.

        12.      The Court finds that the Plan has been filed in good faith and not by any means

forbidden by law.

        13.      The Court finds that the Debtors have satisfied the applicable provisions of 11

U.S.C. §1129(b).

                                                  II. Order

It is therefore ORDERED, ADJUDGED AND DECREED that:

        The above findings are incorporated herein and made the order of the Court.

        14.      The terms of the Plan are appropriate and approved.

        15.      The time limits provided for in the Plan are appropriate and approved.

        16.      The terms of the Plan are appropriate and approved and the Plan is hereby

confirmed.      A copy of the Plan and Modification are attached hereto as Exhibit 1 and 2,

respectively.




- 10/29/2014 Proposed Plan Confirmation Order (00902614xBF97D).DOCX 1                     Page |3
         Case 13-32920 Document 208 Filed in TXSB on 10/29/14 Page 4 of 9



        17.      The Plan satisfies all applicable provisions 11 U.S.C. § 1129(a), except §

1129(a)(8).

        18.      The Plan satisfies the applicable provisions of 11 U.S.C. § 1129(b).

        19.      Pursuant to Article 3.1 of the Plan, any holder of an Administrative Claim against

the Debtors, except the U.S. Trustee with respect to quarterly fees and for taxes and expenses

incurred in the ordinary course of operating the Debtors’ business, shall file proof of such Claim

or application for payment of such Administrative Claim on or within sixty (60) days after entry

of this Order, with actual service upon counsel for the Debtor or such Holder’s Administrative

Claim will be forever barred and extinguished and such Holder shall, with respect to any such

Administrative Claim be entitled to no distribution and no further notices. All pre-confirmation

U.S. Trustee fees due as of the Effective Date shall be paid when due within thirty (30) days after

the Effective Date. The Reorganized Debtors shall timely pay post-confirmation fees owed to

the United States Trustee and assessed pursuant to 28 U.S.C. § 1930(a)(6) until such time as the

Bankruptcy Court enters a final decree closing this Chapter 11 case. After confirmation, the

Reorganized Debtors shall file with the Bankruptcy Court and shall transmit to the United States

Trustee a true and correct statement of all disbursements made by the Reorganized Debtors for

each quarter, or portion thereof, that these Chapter 11 cases remains open in a format prescribed

by the United States Trustee. The Reorganized Debtors shall pay all post-petition taxes in the

ordinary course of business without the necessity of local governments having to file

administrative claims.

        20.      Except as provided otherwise in the Plan, and subject only to the occurrence of

the Effective Date of the Plan, the Debtors are hereby discharged from all debts that arose before

the date of the entry of this Order, including, without limitation, any debts based on the Debtors’




- 10/29/2014 Proposed Plan Confirmation Order (00902614xBF97D).DOCX 1                   Page |4
         Case 13-32920 Document 208 Filed in TXSB on 10/29/14 Page 5 of 9



guarantee of collection, payment or performance of any obligation of the Debtors, and any debt

of a kind specified in §§ 502(g), 502(h) or 502(i) of the Bankruptcy Code, other than (A)

Administrative Expenses (as such term is defined in the Plan) representing liabilities incurred in

the ordinary course of business by the Debtors, and (B) Administrative Expenses representing

allowances of compensation or reimbursement of expenses allowed pursuant to §§ 330 and

503(b)(3) of the Bankruptcy Code, whether or not (i) a Proof of Claim based on such debt is filed

or deemed filed under § 502 of the Code; (ii) such claim is allowed under § 502 of the

Bankruptcy Code; or (iii) the holder of such claim has accepted the Plan.

        21.      Subject only to the occurrence of the Effective Date of the Plan, any judgment at

any time obtained, to the extent that such judgment is a determination of the personal liability of

the Debtors with respect to any debt discharged hereunder is hereby rendered null and void.

        22.      Except as otherwise provided in the Plan, and subject only to the occurrence of

the Effective Date of the Plan, all property of the Debtors’ estates and all other property dealt

with by the Plan owned by the Debtors be and hereby are vested in the Reorganized Debtors free

and clear of all claims and interest of creditors of the Debtors.

        23.      Except as provided in the Plan or this Order, as of the Confirmation Date, all

entities which have held, currently hold or may hold a claim or other debt or liability

against the Debtors that are discharged are permanently enjoined from taking any of the

following actions on account of such discharged claims, debts or liabilities or terminated

interests or rights: (i) commencing or continuing in any manner, any action or other

proceeding against the Debtors or their property; (ii) enforcing, attaching, collecting or

recovering in any manner any judgment, award, decree or other award against the Debtors

or their property; (iii) creating, perfecting or enforcing any lien or encumbrance against




- 10/29/2014 Proposed Plan Confirmation Order (00902614xBF97D).DOCX 1                   Page |5
         Case 13-32920 Document 208 Filed in TXSB on 10/29/14 Page 6 of 9



the Debtors or their property; (iv) asserting a setoff, right of subrogation or recoupment of

any kind against any debt, liability or obligation due to the Debtors or their property; and

(v) commencing or continuing any action, in any manner, in any place that does not comply

with or is inconsistent with the Plan.

        24.      The     respective     affiliates,    officers,    directors,   shareholders,   members,

representatives, attorneys, financial advisors, and agents of the Debtors, the Reorganized

Debtors, have acted in good faith, and each of those parties are hereby forever released from and

shall not be liable to any holder of a Claim, or other party with respect to any action, forbearance

from action, decision, or exercise of discretion taken from the Petition Date to the Effective Date

in connection with (i) the operation of the Debtors or the Reorganized Debtors; (ii) the proposal

or implementation of any of the transactions provided for, or contemplated in, the Plan or the

Plan Documents. All Holders of Claims shall be prohibited from asserting against the Debtors,

Reorganized Debtors or any of their assets or properties, any other or further Claim based upon

any act or omission, transaction or other activity of any kind or nature that occurred prior to the

Confirmation Date, whether or not such Holder filed a proof of Claim. Such prohibition shall

apply whether or not (a) a proof of Claim based upon such debt is filed or deemed filed under

Section 501 of the Bankruptcy Code; (b) a Claim based upon such debt is allowed under Section

502 of the Bankruptcy Code; or (c) the Holder of a Claim based upon such debt has accepted the

Plan. This injunction also permits the Reorganized Debtors to enforce 11 U.S.C. §525(a).

        25.      Pursuant to Section 13.7 of the Plan, on the Effective Date and pursuant to

Section 1123(b)(3)(A) of the Bankruptcy Code, the Debtors, and to the maximum extent

provided by law, its agents, release and forever discharge all claims, including acts taken or

omitted to be taken in connection with or related to the formulation, preparation, dissemination,




- 10/29/2014 Proposed Plan Confirmation Order (00902614xBF97D).DOCX 1                            Page |6
         Case 13-32920 Document 208 Filed in TXSB on 10/29/14 Page 7 of 9



implementation, confirmation or consummation of the Plan, the Disclosure Statement or any

contract, instrument, release or other agreement or document created or entered into or any other

act taken or entitled to be taken in connection with the Plan or this case against the following,

whether known or unknown: (i) Atul Lucky Chopra his employees, agents, attorneys and

representatives (“Insider Released Parties”); and (ii) the Debtors’ Professionals (other than for

willful misconduct or if the release is otherwise restricted by the Texas Disciplinary Rules of

Professional Conduct) in connection with any and all claims and causes of action arising on or

before the Confirmation Date that may be asserted by or on behalf of the Debtors or the

Bankruptcy Estates and/or on account of the Debtors’ Cases.

        26.      All rights of the holders of claims or interests of all classes under the Plan,

including, without limitation, the right to receive distributions on account of such Claims or

interests, shall hereinafter be limited solely to the right to receive such distributions exclusively

as provided in the Plan, and, to the extent applicable, the provisions of this Order. After the date

hereof, the holders of such claims or interests shall have no other or further rights against the

Debtors, except as provided for in the Plan and this Order.

        27.      The Debtors and the Reorganized Debtors are hereby authorized and empowered

pursuant to Section 1142(b) of the Bankruptcy Code to issue, execute, deliver, file or record any

documents, and to take any action necessary or appropriate, including but not limited to

amending the company agreement and by-laws, to implement, effectuate and consummate the

Plan, and the matters contemplated by this Order Confirming Plan, in accordance with their

respective terms, whether or not specifically referred to in the Plan or any exhibit thereto and

without further application to or order of this Court. To the extent the Plan, as supplemented,

provides for a creditor to release a Lien, Claim, Encumbrance or Interest, such creditor shall




- 10/29/2014 Proposed Plan Confirmation Order (00902614xBF97D).DOCX 1                     Page |7
         Case 13-32920 Document 208 Filed in TXSB on 10/29/14 Page 8 of 9



execute a release of any such Lien, Claim, Encumbrance or Interest at the request of the

Reorganized Debtors.

        28.      Notwithstanding anything to the contrary in the Plan or this Order, no non-debtor

party shall be released of any liability on a guaranty or otherwise with respect to any

indebtedness owed by the Debtors; provided, however, that so long as the Reorganized Debtors

are current with respect to all of their obligations under the Plan, this Confirmation Order and the

related loan documents, creditors may not pursue collection of their Claims from the guarantors.

        29.      Pursuant to 11 U.S.C. § 1141(a), the provisions of the Plan are binding on all

parties, including, but not limited to, creditors and equity security holders of the Debtors whether

or not any such creditors or equity holders have accepted the Plan.

        30.      The failure specifically to include any particular provisions of the Plan in this

Order shall not diminish or impair the efficiency of such provision, it being the intent of the

Court that the Plan be authorized and approved in its entirety.

        31.      So long as such amendments or modifications do not materially affect the

interests of creditors or the interest holders, the proponent of the Plan may propose amendments

or modifications to the Plan after the entry of this Order, subject to, upon notice and hearing, the

approval of this Court, in order to remedy any defect or omission, or reconcile any

inconsistencies in the Plan or in this Order, as may be necessary to carry out the purpose and

intent of the Plan.

        32.      After the entry of this order, pleadings shall only be served upon the United States

Trustee, and any party directly affected by the pleading and its counsel, if known (i.e., claims

objections need only be served upon the person who filed the claim that is subject to the

objection, its counsel, if known, and the United States Trustee).




- 10/29/2014 Proposed Plan Confirmation Order (00902614xBF97D).DOCX 1                     Page |8
         Case 13-32920 Document 208 Filed in TXSB on 10/29/14 Page 9 of 9



        33.      To the extent the terms of this Confirmation Order differ from the terms of the

Plan, this Confirmation Order shall control.

        34.      This Confirmation Order is a Final Order and the period in which an appeal must

be filed shall commence immediately upon the entry hereof. Pursuant to Bankruptcy Rule

3020(e), this Confirmation Order shall be effective immediately upon its entry.

        35.      The reversal or modification of this Order on appeal will not affect the acts taken

pursuant to the Plan, or any other agreement, document, instrument or action authorized by this

Order or under the Plan as to the Debtors or any other person acting in good faith, whether or not

such person knows of the appeal, unless this Order is stayed pending appeal.

        36.      This Court retains jurisdiction (i) to enforce and implement the terms and

provisions of the Plan and this Order, all amendments thereto, any waivers and consents herein

provided, and any agreements executed in connection herewith, (ii) to resolve any disputes

arising under or related to this Order, the Plan and (iii) to interpret, implement and enforce the

provisions of this Order and the Plan.



SIGNED this _______ day of October, 2014.


                                           _____________________________________
                                           KAREN K. BROWN
                                           UNITED STATES BANKRUPTCY JUDGE




- 10/29/2014 Proposed Plan Confirmation Order (00902614xBF97D).DOCX 1                    Page |9
